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                  EXHIBIT A
      CAM-L-002619-22 10/04/2022 5:22:39 PM Pg 1 of 7 Trans ID: LCV20223535472
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      CAM-L-002619-22 10/04/2022 5:22:39 PM Pg 2 of 7 Trans ID: LCV20223535472
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      CAM-L-002619-22 10/04/2022 5:22:39 PM Pg 3 of 7 Trans ID: LCV20223535472
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      CAM-L-002619-22 10/04/2022 5:22:39 PM Pg 4 of 7 Trans ID: LCV20223535472
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      CAM-L-002619-22 10/04/2022 5:22:39 PM Pg 5 of 7 Trans ID: LCV20223535472
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      CAM-L-002619-22 10/04/2022 5:22:39 PM Pg 6 of 7 Trans ID: LCV20223535472
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      CAM-L-002619-22 10/04/2022 5:22:39 PM Pg 7 of 7 Trans ID: LCV20223535472
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                                                               ID:LCV20223535472
                                                                   LCV20223535472
Case 1:22-cv-06371-RBK-AMD                     Document 1-1             Filed 10/31/22            Page 9 of 10 PageID: 13




                         Civil Case Information Statement
  Case Details: CAMDEN | Civil Part Docket# L-002619-22

 Case Caption: AC OCEAN WALK, LLC VS INVESTORS                    Case Type: TORT-OTHER
 BANCORP IN C.                                                    Document Type: Complaint
 Case Initiation Date: 10/04/2022                                 Jury Demand: NONE
 Attorney Name: JOSIAH A KNAPP                                    Is this a professional malpractice case? NO
 Firm Name: JOSIAH KNAPP LAW, PC                                  Related cases pending: NO
 Address: 100 S. BROAD ST STE 930                                 If yes, list docket numbers:
 PHILADELPHIA PA 19110                                            Do you anticipate adding any parties (arising out of same
 Phone: 2154195880                                                transaction or occurrence)? NO
 Name of Party: PLAINTIFF : AC Ocean Walk, LLC                    Does this case involve claims related to COVID-19? NO
 Name of Defendant’s Primary Insurance Company
 (if known): Unknown                                              Are sexual abuse claims alleged by: AC Ocean Walk, LLC? NO




       THE INFORMATION PROVIDED ON THIS FORM CANNOT BE INTRODUCED INTO EVIDENCE
                       CASE CHARACTERISTICS FOR PURPOSES OF DETERMINING IF CASE IS APPROPRIATE FOR MEDIATION




  Do parties have a current, past, or recurrent relationship? NO
  If yes, is that relationship:
  Does the statute governing this case provide for payment of fees by the losing party? NO
  Use this space to alert the court to any special case characteristics that may warrant individual
  management or accelerated disposition:


  Do you or your client need any disability accommodations? NO
         If yes, please identify the requested accommodation:


  Will an interpreter be needed? NO
           If yes, for what language:


  Please check off each applicable category: Putative Class Action? NO Title 59? NO Consumer Fraud? NO




  I certify that confidential personal identifiers have been redacted from documents now submitted to the
  court, and will be redacted from all documents submitted in the future in accordance with Rule 1:38-7(b)

  10/04/2022                                                                                           /s/ JOSIAH A KNAPP
  Dated                                                                                                             Signed
          CAM-L-002619-22 10/05/2022 5:08:18 AM Pg 1 of 1 Trans ID: LCV20223537750
   Case 1:22-cv-06371-RBK-AMD        Document 1-1   Filed 10/31/22   Page 10 of 10 PageID:
                                             14
CAMDEN COUNTY
SUPERIOR COURT
HALL OF JUSTICE
CAMDEN            NJ 08103
                                             TRACK ASSIGNMENT NOTICE
COURT TELEPHONE NO. (856) 650-9100
COURT HOURS 8:30 AM - 4:30 PM

                             DATE:   OCTOBER 04, 2022
                             RE:     AC OCEAN WALK, LLC    VS INVESTORS BANCORP IN C.
                             DOCKET: CAM L -002619 22

      THE ABOVE CASE HAS BEEN ASSIGNED TO:    TRACK 2.

      THE MANAGING JUDGE ASSIGNED IS:    HON STEVEN J. POLANSKY

      IF YOU HAVE ANY QUESTIONS, CONTACT TEAM 101
AT: (856) 650-9100 EXT 43126.

      THE ABOVE CASE HAS BEEN REMOVED FROM THE EXPEDITED CIVIL ACTIONS (ECA) PILOT
PROGRAM PURSUANT TO AN ORDER OF THE COURT. DISCOVERY IS THE APPLICABLE NUMBER OF DAYS FOR
A STANDARD TRACK    2 CASE. RUNNING FROM THE DATE OF THE FILING OF THE FIRST RESPONSIVE
PLEADING.

      IF YOU BELIEVE THAT THE TRACK IS INAPPROPRIATE YOU MUST FILE A
 CERTIFICATION OF GOOD CAUSE WITHIN 30 DAYS OF THE FILING OF YOUR PLEADING.
      PLAINTIFF MUST SERVE COPIES OF THIS FORM ON ALL OTHER PARTIES IN ACCORDANCE
WITH R.4:5A-2.
                            ATTENTION:
                                             ATT: JOSIAH A. KNAPP
                                             JOSIAH KNAPP LAW, PC
                                             100 S. BROAD ST
                                             STE 930
                                             PHILADELPHIA     PA 19110
ECOURTS
